     Case 2:14-cr-00001-TOR      ECF No. 331   filed 01/22/16   PageID.1526 Page 1 of 5




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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 2:14-CR-0001-TOR-2
 8                              Plaintiff,
                                                   FINAL ORDER OF FORFEITURE
 9          v.

10    STEVEN RAY ROOT,

11                              Defendant.

12         WHEREAS, on October 16, 2014, the Court entered the Preliminary Order

13   of Forfeiture (ECF No. 249) in accordance with 21 U.S.C. § 853 forfeiting the

14   following assets to the United States:

15         REAL PROPERTY

16         All that lot or parcel of land, together with its buildings,
           appurtenances, improvements, fixtures, attachments and easements,
17         located at 11852 Sunset Road, Thornton, Washington, legally
           described as follows:
18
           Situated in the County of Whitman, State of Washington, and
19         described as follows:

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     FINAL ORDER OF FORFEITURE ~ 1
     Case 2:14-cr-00001-TOR    ECF No. 331    filed 01/22/16   PageID.1527 Page 2 of 5




 1        A tract situated in the southeast quarter of the northwest quarter and
          in the northeast quarter of the southwest quarter of Section 28,
 2        Township 20 north, Range 43 East, W.M., described as follows:

 3        Commencing at a point in the road on subdivision line 27 feet north
          of the center of said Section 28; thence north 0°40′ west 2.50 chains,
 4        thence north 84°5′ west 9.07 chains; thence south 65°39′ east 7.67
          chains; thence south 23°29′ east 1.52 chains; thence north 52°13′
 5        east 1.86 chains to the place of beginning.

 6        A tract situated in the southwest quarter of the northeast quarter of Section
          28, Township 19 north, Range 43 East, W.M., described as follows:
 7        Commencing at a point in road on subdivision line 27 feet north of the
          center of said Section 28; thence north 0°40′ west 165 feet along said
 8        subdivision line; thence south 85°28′ east 151 feet; thence south 43°22′ east
          19 feet to center of road; thence south 49°17′ west 213 feet to the place of
 9        beginning.

10        FIREARMS

11        a. a Browning Arms Company, Buck Mark, .22 long rifle caliber
          pistol bearing serial number 655NV33992;
12
          b. a Smith & Wesson, Model 422, .22 long rifle caliber pistol bearing
13        serial number TEA1381;

14        c. a Walther, Model 922, .22 long rifle caliber pistol bearing serial
          number L324193;
15
          d. a Remington Model 581, .22 caliber bolt action rifle bearing serial
16        number 1229400; and,

17        e. a Winchester, Model 1200, 12 gauge shotgun bearing serial
          number L1397427.
18
          U.S. CURRENCY
19
          -Approximately $1,657.00 U.S. currency
20



     FINAL ORDER OF FORFEITURE ~ 2
     Case 2:14-cr-00001-TOR      ECF No. 331    filed 01/22/16   PageID.1528 Page 3 of 5




 1         On December 12, 2014, the United States Marshal’s Service posted the

 2   Notice Preliminary Order of Forfeiture, the Preliminary Order of Forfeiture and Lis

 3   Pendens on the property located at 11852 Sunset Road, Thornton, Washington.

 4   (ECF No. 325). Based upon the posting date of December 12, 2014, the claim

 5   deadline was January 11, 2015.

 6          Notice of the preliminary order of forfeiture was posted online as outlined

 7   in the Notice of Publication filed herein on June 10, 2015. (ECF Nos. 326, 326-1,

 8   326-2) (firearms and currency). Based upon the December 23, 2014, publication

 9   start date, the latest claim deadline was February 21, 2015.

10         Notice of the preliminary order of forfeiture was posted online as outlined in

11   the Notice of Publication filed herein on January 7, 2016. (ECF Nos. 329, 329-1,

12   329-2) (real property located at 11852 Sunset Road, Thornton, Washington).

13   Based upon the June 2, 2015, publication start date, the latest claim deadline was

14   August 1, 2015.

15         WHEREAS, on December 12, 2014, Brian W. Sparrow was served, via

16   certified mail, return receipt requested with a Notice of Preliminary Order of

17   Forfeiture and Preliminary Order of Forfeiture as outlined in the Certificate of

18   Service by Mail filed herein on June 10, 2015. (ECF Nos. 327, 327-1). Based

19   upon the December 12, 2014 service date his claim or petition was due no later

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     FINAL ORDER OF FORFEITURE ~ 3
     Case 2:14-cr-00001-TOR       ECF No. 331     filed 01/22/16   PageID.1529 Page 4 of 5




 1   than January 9, 2015. To date, no claim, petition or other filing has been received

 2   from Brian W. Sparrow.

 3         WHEREAS, on December 12, 2014, Tamatha E. Root was served, via

 4   certified mail, return receipt requested with a Notice of Preliminary Order of

 5   Forfeiture and Preliminary Order of Forfeiture as outlined in the Certificate of

 6   Service by Mail filed herein on June 10, 2015. (ECF Nos. 328, 328-1). Based

 7   upon the December 12, 2014 service date her claim or petition was due no later

 8   than January 9, 2015. To date, no claim, petition or other filing has been received

 9   from Tamatha E. Root.

10         No claims or petitions were filed for the assets forfeited in the Preliminary

11   Order of Forfeiture entered herein.

12         WHEREAS, the time for filing claims or petitions for said assets, as

13   provided in 21 U.S.C. § 853(n) and Fed.R.Crim.P. 32.2(c) has expired, and no

14   petitions or claims for said assets were filed.

15         Accordingly, IT IS HEREBY ORDERED that:

16         1.     The Government’s Motion for Order Declaring the Preliminary Order

17   of Forfeiture Final, filed January 7, 2016, ECF No. 330, is GRANTED.

18         2.     The Court’s October 16, 2014, Preliminary Order of Forfeiture is final

19   as to the Defendant and as to any and all other persons or entities; and the assets

20   are hereby forfeited to the United States.



     FINAL ORDER OF FORFEITURE ~ 4
     Case 2:14-cr-00001-TOR       ECF No. 331   filed 01/22/16   PageID.1530 Page 5 of 5




 1         3.     The forfeited assets shall be disposed of in accordance with law.

 2         The District Court Executive is hereby directed to enter this Order and

 3   furnish copies to counsel.

 4         DATED January 22, 2016.

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 6                                   THOMAS O. RICE
                                  United States District Judge
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     FINAL ORDER OF FORFEITURE ~ 5
